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                                   7                                    UNITED STATES DISTRICT COURT

                                   8                                   NORTHERN DISTRICT OF CALIFORNIA

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                                         STATE OF CALIFORNIA, et al.,
                                  10                                                      Case No. 20-cv-03005-RS
                                                         Plaintiffs,
                                  11
                                                 v.                                       ORDER REGARDING MOTIONS TO
                                  12                                                      INTERVENE AND MOTIONS FOR
Northern District of California
 United States District Court




                                         ANDREW WHEELER, et al.,                          LEAVE TO SUBMIT AMICUS BRIEFS
                                  13
                                                         Defendants.
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                                  16          Pursuant to Civil Local Rule 7-1(b), the two motions to intervene, Dkt. Nos. 43 and 45,

                                  17   will be submitted without oral argument. Accordingly, the motion filed by proposed intervenors

                                  18   Chantell and Michael Sackett (Dkt. No. 78) to advance the hearing on their motion to intervene is

                                  19   denied as moot.

                                  20          The unopposed motions for leave to submit amicus briefs (Dkt. Nos. 55 and 68) are

                                  21   granted. The proposed briefs attached to the motions will be deemed filed. While amici and

                                  22   proposed intervenors are welcome to view the videoconference hearing on the motion for

                                  23   preliminary injunction, no oral argument from any of them will be entertained.

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                                  25   IT IS SO ORDERED.

                                  26   Dated: May 27, 2020

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                                                                                      RICHARD SEEBORG
                                  28                                                  United States District Judge
